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                                LETTER MOTION TO
                     MODIFY CONDITIONS OF RELEASE ON CONSENT
                                                      November 19, 2024
MAGISTRATE JUDGE MARCIA HENRY
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
                               Re: United States v. Ammar Awawdeh
                               Criminal Docket No. 24-mj-00404-CLP-1
Dear Magistrate Judge Henry:
      Please be advised that I, Matin Emouna, of the firm Emouna & Mikhail PC, along with Mark
Lesko of the firm Greenberg Traurig LLP, represent Ammar Awawdeh, the defendant in the
aforementioned matter.
         This letter is respectfully submitted on behalf of Ammar Awawdeh, who to date has been
compliant with his conditions of release, in support of his motion to temporarily modify his
conditions of release on consent of the government and partial consent of Pretrial Services, in order
to allow him to attend his wedding in Nashville, Tennessee, where his fiancée’s family presently
resides. Specifically, we are requesting that Mr. Awawdeh be allowed to travel to Nashville by car
on Wednesday, November 20, 2024 and to return to New York by car on Wednesday, November 27,
2024, and that his curfew be temporarily lifted during this trip so that he can attend various ceremonies
and celebrations. The government has consented to Mr. Awawdeh’s travel and to temporarily lifting
his curfew, and Pretrial Services has consented to Mr. Awawdeh’s travel and has not consented to
lifting the curfew. We note that Mr. Awawdeh will continue to wear his location monitoring device
during his trip to Nashville. Further, we will provide PreTrial Services with an exact itinerary of
where Mr. Awawdeh intends on sleeping each night during his trip.
        By way of background, on June 7, 2024, Mr. Awawdeh was arraigned before Your Honor,
whereby defense counsel and government agreed on a $100,000 bond with two (2) sureties, subject
to home detention and addiction assessment (See Dkt. No. 23). On August 23, 2024, Mr. Awawdeh’s
condition of release was modified on consent by striking paragraph (7) (i) (ii) (“Home Detention”) of
the June 7, 2024 Order and replaced that condition with the following condition: “a curfew with
location monitoring as directed by Pretrial Services.” (See Dkt. No. 51).
        The Court’s time and attention to this matter are greatly appreciated.
                                                      Respectfully submitted,
                                                      Matin Emouna
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